  Case: 1:03-cv-00105-CAS          Doc. #: 84 Filed: 11/18/05        Page: 1 of 2 PageID #:
                                            1053

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION


JAMIE KAUFMANN WOODS; SHARI,                    )
LUEKEN, a minor, by and through her             )
next friends, RALPH LUEKEN and                  )
MARILYN LUEKEN; RALPH LUEKEN;                   )
MARILYN LUEKEN; ERIKA TEASLEY,                  )
a minor, by and through her next friends,       )
PAUL DOUGLAS (“DOUG”) HOOVER JR.,               )
and KATRINA L. HOOVER; PAUL                     )
DOUGLAS (“DOUG”) HOOVER JR.;                    )
KATRINA HOOVER; TRACEY BRAZIL                   )
OZUNA, and JESSICA DEBOI,                       )
                                                )
           Plaintiffs,                          )
                                                )
    v.                                          )          No. 1:03-CV-105 CAS
                                                )
BOB WILLS, a/k/a BOBBY RAY WILLS,               )
a/k/a W. B. WILLS; BETTY SUE WILLS;             )
SAM GERHARDT, a/k/a S. L. GERHARDT;             )
DEBORAH GERHARDT, a/k/a DEBBIE                  )
GERHARDT; JULIE GERHARDT;                       )
SHARON GOODMAN; and ANDREA HILL                 )
d/b/a MOUNTAIN PARK BOARDING                    )
ACADEMY,                                        )
                                                )
           Defendants.                          )

                      PARTIAL JUDGMENT AND ORDER OF DISMISSAL

         In accordance with the memorandum and order of this date and incorporated herein,

         IT IS HEREBY ORDERED that plaintiff Jamie Kaufmann Woods’ claims under the

Americans with Disabilities Act are DISMISSED.

         IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of defendant Sharon Goodman on all of plaintiffs Tracey Ozuna Brazil and Jessica Deboi’s

claims against her.
  Case: 1:03-cv-00105-CAS            Doc. #: 84 Filed: 11/18/05            Page: 2 of 2 PageID #:
                                              1054

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on the student plaintiffs’ Fair Labor Standards Act claims.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on the student plaintiffs’ intentional infliction of emotional distress claims.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on the student plaintiffs’ false imprisonment claims.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on the student plaintiffs’ battery claims based on surreptitious administration

of antipsychotic or behavior modification drugs.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on plaintiffs Jessica Deboi, Erika Teasley and Shari Lueken’s physical battery

claims.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on the student plaintiffs’ negligence claims based on surreptitious

administration of antipsychotic or behavior modification drugs.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on plaintiff Shari Lueken’s conversion claim.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that judgment is entered in

favor of all defendants on plaintiffs Ralph Lueken, Marilyn Lueken, Paul Douglas Hoover, Jr., and

Katrina Hoover’s fraud claims.




                                                    CHARLES A. SHAW
                                                    UNITED STATES DISTRICT JUDGE


Dated this 18th day of November, 2005.
